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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY


 TIMOTHY J. DWYER,                                    Civil Action No.:
                         Plaintiff,

           v.
                                                     NOTICE OF APPEARANCE OF
 CAPITAL INVESTORS MANAGEMENT                         YOSTINA MISHRIKY, ESQ.
 LLC, and SHUVAM BHAUMIK and VIRJU
 PATEL,

                           Defendants.



         PLEASE TAKE NOTICE that Yostina Mishriky, Esq. of the law firm of Genova Burns,

LLC hereby enters her appearance in this action as counsel for Plaintiff, Timothy Dwyer in the

above captioned matter.



                                                  GENOVA BURNS LLC

                                           By:    /s/ Yostina Mishriky
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Dated: January 25, 2023


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